      Case 2:11-cr-00100-SAB              ECF No. 329      filed 05/13/14      PageID.1161 Page 1 of 2
PROB 12C                                                                                Report Date: May 13, 2014
(7/93)
                                                                                                       FILED IN THE
                                       United States District Court                                U.S. DISTRICT COURT
                                                                                             EASTERN DISTRICT OF WASHINGTON


                                                       for the                               May 13, 2014
                                                                                                  SEAN F. MCAVOY, CLERK
                                          Eastern District of Washington

                  Petition for Warrant or Summons for Offender Under Supervision


 Name of Offender: Brandy Mueller                           Case Number: 0980 2:11CR00100-FVS-5
 Address of Offender: Unknown
 Name of Sentencing Judicial Officer: The Honorable Fred Van Sickle, Senior U.S. District Judge
 Date of Original Sentence: March 8, 2012
 Original Offense:        Manufacture of Counterfeit Currency, 18 U.S.C. § 471 and 2
 Original Sentence:       Prison 366 days;                  Type of Supervision: Supervised Release
                          TSR - 36 months
 Asst. U.S. Attorney:     Earl A. Hicks                     Date Supervision Commenced: January 18, 2013
 Defense Attorney:        Federal Defenders Office          Date Supervision Expires: January 17, 2016


                                           PETITIONING THE COURT

                To issue a warrant.

The probation officer believes that the offender has violated the following condition(s) of supervision:


Violation Number        Nature of Noncompliance

           1            Special Condition # 18: You shall undergo a substance abuse evaluation and, if indicated
                        by a licensed/certified treatment provider, enter into and successfully complete an approved
                        substance abuse treatment program, which could include inpatient treatment and aftercare.
                        You shall contribute to the cost of treatment according to your ability to pay. You shall
                        allow full reciprocal disclosure between the supervising officer and treatment provider.

                        Supporting Evidence: On February 24, 2014, Ms. Mueller was court ordered to participate
                        in residential drug treatment. On April 24, 2014, Ms. Mueller was admitted into inpatient
                        treatment at Spokane Addiction Recovery Center. On May 12, 2014, the U.S. Probation
                        Office received notice that Ms. Mueller had absconded from treatment while they were
                        attempting to have her provide a urinalysis test. The treatment center had received
                        information that Ms. Mueller, and another individual, had used methamphetamine which had
                        been brought into the facility. Ms. Mueller was walking to the testing facility with a staff
                        member and advised she would not submit a urinalysis test as directed. The offender then
                        took off running, and absconded from the facility. Her whereabouts are currently unknown.

The U.S. Probation Office respectfully recommends the Court issue a warrant for the arrest of the offender to
answer the allegations contained in this petition.
     Case 2:11-cr-00100-SAB     ECF No. 329       filed 05/13/14      PageID.1162 Page 2 of 2
Prob12C
Re: Mueller, Brandy
May 13, 2014
Page 2

                                  I declare under penalty of perjury that the foregoing is true and correct.
                                                   Executed on:      May 13, 2014
                                                                     s/Anne L. Sauther
                                                                     Anne L. Sauther
                                                                     U.S. Probation Officer



 THE COURT ORDERS

 [   ]    No Action
 [   ]    The Issuance of a Warrant
 [   ]    The Issuance of a Summons
 [   ]    Other
                                                                            s/ Fred Van Sickle
                                                                     Signature of Judicial Officer
                                                                        5/13/14
                                                                     Date
